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                                                                                  Stamatios Stamoulis
                                                                              stamoulis@swdelaw.com

August 17, 2021

The Honorable Marellen Noreika
J. Caleb Boggs Federal Building
844 N. King Street
Unit 19 Room 4324
Wilmington, DE 19801

       Re:     Aether Therapeutic Inc. v. Astrazeneca AB, et al., In the United States District
               Court for the District of Delaware, Case No. 1:20-cv-381-MN

Dear Judge Noreika:

      Please allow this letter to confirm that the Plaintiff’s tutorial has been submitted to
chambers by email in the above-referenced case.

       If you have any questions, please do not hesitate to contact my office.


                                                      Respectfully,




                                                      Stamatios Stamoulis
                                                      Counsel for Plaintiff



cc: Counsel of Record (via CM/ECF)
